

	In the Matter of Winston Gregory Hall, for leave to assume the name of Sage-El, Petitioner-Appellant.



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Petitioner appeals from an order of the Civil Court of the City of New York, New York County (Carol R. Sharpe, J.), entered August 28, 2017, after a hearing, which denied his request to change his race/nationality in a proceeding pursuant to article 6 of the Civil Rights Law.




Per Curiam.
Appeal from order (Carol R. Sharpe, J.), entered August 28, 2017, deemed an application by petitioner for review pursuant to CPLR 5704(b), and so considered, order affirmed.
Upon the grant of petitioner's application to change his name (see Civil Rights Law § 63), Civil Court properly denied the additional relief sought by petitioner with respect to his race and nationality. Such relief is not authorized by article 6 of the Civil Rights Law and is beyond the scope of Civil Court's limited jurisdiction (see CCA 201 et seq.).
Although petitioner has appealed from an ex parte order which is not appealable as of right (see CPLR 5701[1], [2]), we treat the appeal as an application by petitioner for review pursuant to CPLR 5704(b) (see Matter of Washington, 216 AD2d 781, 781 [1995]).

THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concur I concur I concur
Decision Date: February 22, 2018










